537 U.S. 816
    ROEBLING LIQUORS, INC., ET AL.v.COMMISSIONER OF TAXATION AND FINANCE OF NEW YORK ET AL.
    No. 01-1676.
    Supreme Court of United States.
    October 7, 2002.
    
      1
      CERTIORARI TO THE APPELLATE DIVISION, SUPREME COURT OF NEW YORK, THIRD JUDICIAL DEPARTMENT.
    
    
      2
      App. Div., Sup. Ct. N. Y., 3d Jud. Dept. Certiorari denied. Reported below: 284 App. Div. 2d 669, 728 N. Y. S. 2d 509.
    
    